     Case 2:09-cv-00208-KJM-EFB Document 338 Filed 07/31/19 Page 1 of 1


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 7                                 UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10    MORNING STAR PACKING                             Case No. 2:09-cv-00208-KJM-EFB
      COMPANY, L.P., et al.,
11
                         Plaintiffs,
12                                                     ORDER
             v.
13
      SK FOODS, L.P., et al.,
14
                         Defendant.
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17                  The court granted Los Gatos Tomato Products and Stuart Woolf’s motion for

18   summary judgment, ECF No. 304, and denied plaintiffs’ motion for reconsideration of that order,

19   ECF No 324. Plaintiffs have since dismissed all remaining defendants in this action. See ECF No.

20   331 (joint status report noting plaintiffs had filed or would file dismissals with prejudice for all

21   remaining defendants other than Los Gatos and Woolf, who would move for entry of final

22   judgment); ECF No. 337 (Los Gatos and Woolf’s request for entry of final judgment following

23   dismissal of all remaining defendants).

24                  Accordingly, the court DIRECTS the clerk of the court to enter judgment for Los

25   Gatos Tomato Products and Stuart Woolf. Case CLOSED.

26                  IT IS SO ORDERED.

27   DATED: July 30, 2019.
                                                           UNITED STATES DISTRICT JUDGE
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